        Nicholas J Henderson, OSB #074027
        Motschenbacher & Blattner LLP
        117 SW Taylor St., Ste. 300
        Portland, OR 97204
        Phone: 503-417-0508
        Fax: 503-417-0528
        nhenderson@portlaw.com

                  Of Attorneys for Level 3 Homes & Design, LLC; and
                  Heirloom, Inc.

                                   UNITED STATES BANKRUPTCY COURT

                                              DISTRICT OF OREGON



         In re:                                              Bankruptcy Case Nos.

         LEVEL 3 HOMES & DESIGN, LLC,                        20-30271-tmb11 (Lead Case)

                   and                                       20-30272-tmb11

         HEIRLOOM, INC.,                                     Jointly Administered

                                 Debtors.                    NOTICE OF MOTION


                                            NOTICE – LBR 9019-1(B)

                  PLEASE TAKE NOTICE: If you oppose the proposed course of action or relief sought in

        the attached motion, you must file a written objection with the bankruptcy court within 14 days

        after the date listed in the certificate of service below. If you do not file an objection, the court

        may grant the motion without further notice or hearing. Your objection must set forth the specific

        grounds for objection and your relation to the case.

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Page 1 of 2       NOTICE OF MOTION                                                           MOTSCHENBACHER & BLATTNER LLP
                                                                                               117 SW Taylor Street, Suite 300
                                                                                                   Portland, Oregon 97204
{00354598:1}                                                                                        Phone: 503-417-0500
                                                                                                     Fax: 503-417-0501
                                                                                                     www.portlaw.com
                               Case 20-30271-tmb11          Doc 83      Filed 04/08/20
               The objection must be received by the clerk of the court at United States Bankruptcy

        Court, 1050 SW 6th Avenue, #700, Portland, OR 97204, by the deadline specified above or it

        may not be considered. You must also serve the objection on Nicholas J. Henderson,

        Motschenbacher & Blattner LLP, 117 SW Taylor Street, Suite 300, Portland, OR 97204, within

        that same time. If the court sets a hearing, you will receive a separate notice listing the hearing

        date, time, and other relevant information.




Page 2 of 2    NOTICE OF MOTION                                                            MOTSCHENBACHER & BLATTNER LLP
                                                                                             117 SW Taylor Street, Suite 300
                                                                                                 Portland, Oregon 97204
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        nhenderson@portlaw.com
        Motschenbacher & Blattner LLP
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        Portland, OR 97204
        Phone: 503-417-0508
        Fax: 503-417-0528

                  Of Attorneys for Debtors Level 3 Homes & Design, LLC,
                  and Heirloom, Inc.



                               IN THE UNITED STATES BANKRUPTCY COURT

                                       FOR THE DISTRICT OF OREGON



         In re:                                           Bankruptcy Case Nos.

         LEVEL 3 HOMES & DESIGN, LLC,                     20-30271-tmb11 (Lead Case)

                   and                                    20-30272-tmb11

         HEIRLOOM, INC.,                                  Jointly Administered

                                 Debtors.                 DEBTORS’ AMENDED APPLICATION
                                                          FOR AUTHORITY TO EMPLOY
                                                          ACCOUNTANT / BOOKKEEPER, AND
                                                          MOTION TO APPROVE INTERIM
                                                          COMPENSATION PROCEDURES



                  Pursuant to 11 U.S.C. §§ 327, 328, and 331, and Bankruptcy Rule 2014, Level 3 Homes

        & Design, LLC and Heirloom, Inc. (together, the “Debtors”) move the Court for authority to

        employ Profound Financial, PLLC (“Profound”), effective as of March 2, 2020 as their

        accountant and bookkeeper to provide services including, but not limited to, recording and

        classifying financial transactions, preparing Debtors’ 2019 tax returns and other submissions

        required by the federal or state taxing authorities, or as required by the Bankruptcy Court, and

Page 1 of 7       DEBTORS’ AMENDED APPLICATION FOR AUTHORITY TO                         MOTSCHENBACHER & BLATTNER LLP
                                                                                          117 SW Taylor Street, Suite 300
                  EMPLOY ACCOUNTANT / BOOKKEEPER                                              Portland, Oregon 97204
{00341186:2}                                                                                   Phone: 503-417-0500
                                                                                                Fax: 503-417-0501
                               Case 20-30271-tmb11        Doc 83     Filed 04/08/20             www.portlaw.com
        providing other necessary accounting and bookkeeping advice in connection with Debtors’

        bankruptcies. Debtors also request authority to pay Profound on a monthly basis, in accordance

        with the procedures set forth herein. In support of this application, Debtors represent as follows:

                                                JURISDICTION

                1.     This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and

        1334. Consideration of this application constitutes a core proceeding within the meaning of 28

        U.S.C. § 157(b)(2)(A).

                2.     The statutory predicates for the relief sought by this application are sections

        327(a), 328(a) and 1107 of the Bankruptcy Code. Venue is proper under 28 U.S.C. § 1408.

                                                BACKGROUND

                3.     On March 27, 2020, Debtors filed petitions for relief under Chapter 11 of the

        Bankruptcy Code. The Debtors are continuing in the management and possession of its business

        and properties as debtors-in-possession under sections 1107 and 1108 of the Bankruptcy Code.

        As of the date hereof, no trustee or examiner has been requested or appointed in either case, and

        the United States trustee has not appointed a committee of creditors.

                4.     Debtors require the assistance of an accountant and bookkeeper to prepare

        Debtors’ 2019 federal, state and local income tax returns, and any other reporting as required by

        the federal or state taxing authorities, or as required by the Bankruptcy Court, to provide

        financial and accounting advice, and to manage Debtors’ financial transactions in connection

        with Debtors’ bankruptcies.

        /////

        /////

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Page 2 of 7     DEBTORS’ AMENDED APPLICATION FOR AUTHORITY TO                            MOTSCHENBACHER & BLATTNER LLP
                                                                                           117 SW Taylor Street, Suite 300
                EMPLOY ACCOUNTANT / BOOKKEEPER                                                 Portland, Oregon 97204
{00341186:2}                                                                                    Phone: 503-417-0500
                                                                                                 Fax: 503-417-0501
                              Case 20-30271-tmb11         Doc 83     Filed 04/08/20              www.portlaw.com
               5.      Debtors wish to employ Profound as their accountant and bookkeeper in these

        proceedings. Debtors selected Profound for the reason that Profound has the experience needed

        to prepare the tax returns and other reporting, as well as manage Debtors’ financial transactions,

        and because Profound is well-known for serving individuals and companies with interests in

        closely held businesses of all sizes.

               6.      To the best of Debtors’ knowledge, Profound has no connection with the creditors

        or any other adverse party or its attorneys, except as disclosed in the Rule 2014 Verified

        Statements on file herein.

               7.      To the best of Debtors’ knowledge, Profound represents no interest adverse to

        Debtors or the business.

                                                RELIEF REQUESTED

               8.      By this application, Debtors seek entry of an order authorizing them to employ

        Profound as accountant and bookkeeper, on the terms and conditions set forth in the Engagement

        Agreement (as modified by the attached addenda) attached hereto as Exhibit 1.

               9.      Debtors also request authority to pay Profound on a monthly basis, consistent

        with the interim compensation procedures discussed below.

                                         POINTS AND AUTHORITIES

               10.     Sections 327(a) and 328(a) of the Bankruptcy Code provide that a debtor, subject

        to Court approval, may employ one or more attorneys, accountants, appraisers, auctioneers, or

        other professional persons, that do not hold or represent an interest adverse to the estate, and that

        are disinterested persons, to represent or assist the Debtors in carrying out the Debtors’ duties

        under this title. See 11 U.S.C. §§ 327, 328. Furthermore, Bankruptcy Rule 2014(a) provides that

        an “order approving the employment of attorneys, accountants, appraisers, auctioneers, agents, o


Page 3 of 7     DEBTORS’ AMENDED APPLICATION FOR AUTHORITY TO                             MOTSCHENBACHER & BLATTNER LLP
                                                                                            117 SW Taylor Street, Suite 300
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                                                                                                  Fax: 503-417-0501
                              Case 20-30271-tmb11          Doc 83     Filed 04/08/20              www.portlaw.com
        other professionals pursuant to §327 . . . of the Code shall be made only on application of the

        trustee or committee.” Fed. R. Bankr. P. 2014. Bankruptcy Rule 2014 requires that an application

        for retention of a professional includes specific facts showing the necessity for employment, the

        name of the firm to be employed, the reasons for the selection, the professional services to be

        rendered, any proposed arrangement for compensation, and to the best of the applicant’s

        knowledge, all of the firm’s connections with the debtor, creditors, any other party in interest,

        their respective attorneys and accounts, the United States Trustee, or any person employed in the

        office of the United States Trustee. Id.

               11.     Courts take a case-by-case approach as to whether property managers qualify as

        “professionals” for purposes of section 327. See, e.g., In re Bannerman Holdings, LLC, 2010 WL

        2404313, at *3 (Bankr. E.D.N.C. June 10, 2010) (analyzing “the facts of this case” in

        determining whether “the ‘professional’ threshold has . . . been established.”); In the Matter of

        Park Terrace Townhouses v. Wilds, 852 F.2d 1019 (7th Cir.1988) (property manager held to be a

        professional when granted broad autonomy and discretion).

               12.     In bankruptcy proceedings, professionals who perform services for a debtor in

        possession cannot recover fees for services rendered to the estate unless those services have been

        previously authorized by a court order. In re Atkins, 69 F.3d 970, 973 (9th Cir. 1995) (citations

        omitted). The bankruptcy courts in the 9th Circuit possess the equitable power to approve

        retroactively a professional’s valuable but unauthorized services. Id. (citations omitted).

               13.     Section 331 of the Bankruptcy Code provides, in relevant part, as follows:

               A trustee, an examiner, a debtor’s attorney, or any professional person
               employed under section 327 or 1103 of this title may apply to the court not
               more than once every 120 days after an order for relief in a case under this title,
               or more often if the court permits, for such compensation for services rendered
               before the date of such an application or reimbursement for expenses incurred
               before such date as is provided under section 330 of this title. After notice and

Page 4 of 7     DEBTORS’ AMENDED APPLICATION FOR AUTHORITY TO                            MOTSCHENBACHER & BLATTNER LLP
                                                                                           117 SW Taylor Street, Suite 300
                EMPLOY ACCOUNTANT / BOOKKEEPER                                                 Portland, Oregon 97204
{00341186:2}                                                                                    Phone: 503-417-0500
                                                                                                 Fax: 503-417-0501
                              Case 20-30271-tmb11          Doc 83     Filed 04/08/20             www.portlaw.com
                  a hearing, the court may allow and disburse to such applicant such
                  compensation or reimbursement.

        11 U.S.C. § 331. Absent an order of this Court, section 331 limits Professionals rendering

        services in these Chapter 11 Cases to payment of fees and expenses only three times per year.

               A. Debtors’ Need for Services from Profound.

                  14.    In this case, Debtors seek authority to employ Profound to (1) coordinate and

        manage Debtors’ monthly payroll; (2) prepare and file payroll tax returns with taxing authorities;

        (3) manage payment of employees and submission of tax withholding payments to taxing

        authorities; (4) handle bookkeeping and record keeping services for all income and expenses; (5)

        prepare monthly operating reports, including additional detailed reports requested by the United

        States Trustee; (6) review Debtors’ pre-petition bookkeeping records and correct any erroneous

        bookkeeping entries therein; and (7) prepare Debtors’ 2019 tax returns (collectively, the

        “Services”).

                  15.    Debtors’ representatives are unable to efficiently and accurately perform the

        Services themselves. See Killian Decl., ¶ 3. Additionally, Debtors anticipate saving a

        significant amount of money using Profound’s services for bookkeeping and payroll, in

        comparison to the salaries Debtors previously paid to a controller and assistant controller prior to

        the filing of the bankruptcy petitions. Id.

               B. Profound’s Qualifications

                  16.    Debtors selected Profound for the reason that it has extensive experience with and

        is competent in the field of bookkeeping and accounting, and because Profound is familiar with

        the Debtors’ business. Killian Decl., ¶ 4. Additionally, Debtors selected Profound because it is

        licensed and insured. Killian Decl., ¶ 5.



Page 5 of 7       DEBTORS’ AMENDED APPLICATION FOR AUTHORITY TO                          MOTSCHENBACHER & BLATTNER LLP
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{00341186:2}                                                                                    Phone: 503-417-0500
                                                                                                 Fax: 503-417-0501
                                Case 20-30271-tmb11        Doc 83     Filed 04/08/20             www.portlaw.com
               C. Profound’s Disinterestedness

                  17.    To the best of the Debtors’ knowledge, Profound has no connection with the

        Debtors’ creditors or any other adverse party or their attorneys.

                  18.    To the best of Debtors’ knowledge, Profound does not represent any interest that

        is adverse to the Debtors or their estates.

                  19.    The Debtors believe that Profound is a “disinterested person” within the meaning

        of section 101(14) of the Bankruptcy Code, as modified by section 1107(b) of the Bankruptcy

        Code, and employment by the Debtor is permissible under sections 327(a) and 328 of the

        Bankruptcy Code and is in the best interests of all parties-in-interest.

               D. Profound’s Compensation

                  20.    Debtors seek approval of the following procedures by which it can compensate

        Profound on a monthly basis:

                         a. With the Debtors’ Rule 2015 Monthly Operating Report (the “Report”), the
                            Debtors shall include a report containing an itemization of Profound’s fees
                            and expenses for calendar month covered by the Report.

                         b. Unless a party in interest objects to payment of Profound’s fees and expenses
                            within 14 days from the date the Report is filed, Debtors shall be authorized to
                            pay Profound’s fees and expense reimbursements.

                         c. Upon receiving an objection from a party in interest, Debtors shall request a
                            hearing to have the matter decided by the Court.

                 21.     Neither the failure to object nor the payment or nonpayment of any portion of the

        requested monthly interim compensation and expenses shall bind any creditor, party in interest,

        or the Court with respect to the final allowance of applications for compensation and

        reimbursement of expenses.

                 22.     All fees and expenses paid to Profound under these proposed interim

        compensation procedures are subject to disgorgement until final allowance by the Court.

Page 6 of 7       DEBTORS’ AMENDED APPLICATION FOR AUTHORITY TO                          MOTSCHENBACHER & BLATTNER LLP
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                  EMPLOY ACCOUNTANT / BOOKKEEPER                                               Portland, Oregon 97204
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                                                                                                 Fax: 503-417-0501
                               Case 20-30271-tmb11         Doc 83     Filed 04/08/20             www.portlaw.com
               E. Accompanying Documents

                 23.    Attached are Profound’s Rule 2014 Verified Statements.

                 24.    Attached as Exhibit 1 is Profound’s proposed engagement agreement, with

        addenda which modify the terms of the engagement agreement to address specific contract terms

        that are not appropriate for the Debtors while in bankruptcy.

                 25.    Attached as Exhibit 2 is a proposed order authorizing Debtors to employ

        Profound, approving the terms and conditions of Profound’s employment, and authorizing the

        Debtors to pay Profound on a monthly basis using the proposed interim compensation

        procedures described herein.

                 WHEREFORE, Debtors request entry of the proposed Order that is attached as Exhibit 2

        hereto, authorizing employment of Profound Financial, PLLC, and authorizing the interim

        compensation procedures described above.

         DATED: April 8, 2020                     MOTSCHENBACHER & BLATTNER LLP

                                                  By:/s/ Nicholas J. Henderson
                                                    Nicholas J. Henderson, OSB No. 074027
                                                    Of Attorneys for Debtors




Page 7 of 7       DEBTORS’ AMENDED APPLICATION FOR AUTHORITY TO                       MOTSCHENBACHER & BLATTNER LLP
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                  EMPLOY ACCOUNTANT / BOOKKEEPER                                            Portland, Oregon 97204
{00341186:2}                                                                                 Phone: 503-417-0500
                                                                                              Fax: 503-417-0501
                              Case 20-30271-tmb11        Doc 83     Filed 04/08/20            www.portlaw.com
                               UNITED STATES BANKRUPTCY COURT
                                      DISTRICT OF OREGON
In re                                  )
                                                   20-30271-tmb11
                                       ) Case No. ________________
Level 3 Homes & Design, LLC,           )
                                       ) RULE 2014 VERIFIED STATEMENT
Debtor(s)                              ) FOR PROPOSED PROFESSIONAL

Note: To file an amended version of this statement per ¶19, file a fully completed amended Rule 2014
statement on LBF #1114 and clearly identify any changes from the previous filed version.

 1. The applicant is not a creditor of the debtor except:
N/A

 2. The applicant is not an equity security holder of the debtor.

 3. The applicant is not a relative of the individual debtor.

 4. The applicant is not a relative of a general partner of the debtor (whether the debtor is an individual,
    corporation, or partnership).

 5. The applicant is not a partnership in which the debtor (as an individual, corporation, or partnership)
    is a general partner.

 6. The applicant is not a general partner of the debtor (whether debtor is an individual, corporation, or
    partnership).

 7. The applicant is not a corporation of which the debtor is a director, officer, or person in control.

 8. The applicant is not and was not, within two years before the date of the filing of the petition, a
    director, officer, or employee of the debtor.

 9. The applicant is not a person in control of the debtor.

10. The applicant is not a relative of a director, officer or person in control of the debtor.

11. The applicant is not the managing agent of the debtor.

12. The applicant is not and was not an investment banker for any outstanding security of the debtor;
    has not been, within three years before the date of the filing of the petition, an investment banker
    for a security of the debtor, or an attorney for such an investment banker in connection with the
    offer, sale, or issuance of a security of the debtor; and is not and was not, within two years before
    the date of the filing of the petition, a director, officer, or employee of such an investment banker.

13. The applicant has read 11 U.S.C. §101(14) and §327, and FRBP 2014(a); and the applicant’s firm
    has no connections with the debtor(s), creditors, any party in interest, their respective attorneys and
    accountants, the United States Trustee, or any person employed in the office of the United States
    Trustee, or any District of Oregon Bankruptcy Judge, except as follows:
N/A




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14. The applicant has no interest materially adverse to the interest of the estate or of any class of
    creditors or equity security holders.

15. Describe details of all payments made to you by either the debtor or a third party for any services
    rendered on the debtor's behalf within a year prior to filing of this case:
      3/12/19 debit card payment $1390
      10/2/19 check number 70135 $2458.88




16. The debtor has the following affiliates (as defined by 11 U.S.C. §101(2)). Please list and explain
    the relationship between the debtor and the affiliate:
Jeremy Killian - 50% shareholder; Ryan Donato - 50% shareholder
Heirloom, Inc. - Oregon corporation owned by Jeremy Killian (80%) and Ryan Donato (20%)
*50/50 ownership of Heirloom, Inc. as agreed to by shareholders.
Level 3, LLC - Oregon limited liability company owned by Jeremy Killian (100%)



17. The applicant is not an affiliate of the debtor.

18. Assuming any affiliate of the debtor is the debtor for purposes of statements 4-13, the statements
    continue to be true except (list all circumstances under which proposed counsel or counsel's law
    firm has represented any affiliate during the past 18 months; any position other than legal counsel
    which proposed counsel holds in either the affiliate, including corporate officer, director, or
    employee; and any amount owed by the affiliate to proposed counsel or its law firm at the time of
    filing, and amounts paid within 18 months before filing):
N/A




19. The applicant hereby acknowledges that he/she has a duty during the progress of the case to keep
    the court informed of any change in the statement of facts which appear in this verified statement.
    In the event that any such changes occur, the applicant immediately shall file with the court an
    amended verified statement on LBF #1114, with the caption reflecting that it is an amended Rule
    2014 statement and any changes clearly identified.

THE FOLLOWING QUESTIONS NEED BE ANSWERED ONLY IF AFFILIATES HAVE BEEN LISTED
IN STATEMENT 16.

20. List the name of any affiliate which has ever filed bankruptcy, the filing date, and court where filed:
Heirloom, Inc.; January 27, 2020, U.S. Bankruptcy Court Dist. Oregon (Case No. 20-30272-tmb11).




1114 (11/30/09)     Page 2 of 3

                           Case 20-30271-tmb11         Doc 83   Filed 04/08/20
21. List the names of any affiliates which have guaranteed debt of the debtor or whose debt the debtor
    has guaranteed. Also include the amount of the guarantee, the date of the guarantee, and whether
    any security interest was given to secure the guarantee. Only name those guarantees now
    outstanding or outstanding within the last 18 months:

N/A




22. List the names of any affiliates which have a debtor-creditor relationship with the debtor. Also
    include the amount and date of the loan, the amount of any repayments on the loan and the
    security, if any. Only name those loans now outstanding or paid off within the last 18 months:
Jeremy Killian - loaned $200,000 to Debtor on or about 12/5/2019. No security.




23. List any security interest in any property granted by the debtor to secure any debts of any affiliate
    not covered in statements 20 and 21. List any security interest in any property granted by the
    affiliate to secure any debts of the debtor not covered in statements 21 and 22. Also include the
    collateral, the date and nature of the security interest, the name of the creditor to whom it was
    granted, and the current balance of the underlying debt:
N/A




24. List the name of any affiliate who is potentially a "responsible party" for unpaid taxes of the debtor
    under 26 U.S.C. §6672:
N/A




I verify that the above statements are true to the extent of my present knowledge and belief.


                                                               ________________________________
                                                                            Applicant

1114 (11/30/09)    Page 3 of 3

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                               UNITED STATES BANKRUPTCY COURT
                                      DISTRICT OF OREGON
In re                                  )
                                                   20-30272-tmb11
                                       ) Case No. ________________
Heirloom, Inc.,                        )
                                       ) RULE 2014 VERIFIED STATEMENT
Debtor(s)                              ) FOR PROPOSED PROFESSIONAL

Note: To file an amended version of this statement per ¶19, file a fully completed amended Rule 2014
statement on LBF #1114 and clearly identify any changes from the previous filed version.

 1. The applicant is not a creditor of the debtor except:
N/A

 2. The applicant is not an equity security holder of the debtor.

 3. The applicant is not a relative of the individual debtor.

 4. The applicant is not a relative of a general partner of the debtor (whether the debtor is an individual,
    corporation, or partnership).

 5. The applicant is not a partnership in which the debtor (as an individual, corporation, or partnership)
    is a general partner.

 6. The applicant is not a general partner of the debtor (whether debtor is an individual, corporation, or
    partnership).

 7. The applicant is not a corporation of which the debtor is a director, officer, or person in control.

 8. The applicant is not and was not, within two years before the date of the filing of the petition, a
    director, officer, or employee of the debtor.

 9. The applicant is not a person in control of the debtor.

10. The applicant is not a relative of a director, officer or person in control of the debtor.

11. The applicant is not the managing agent of the debtor.

12. The applicant is not and was not an investment banker for any outstanding security of the debtor;
    has not been, within three years before the date of the filing of the petition, an investment banker
    for a security of the debtor, or an attorney for such an investment banker in connection with the
    offer, sale, or issuance of a security of the debtor; and is not and was not, within two years before
    the date of the filing of the petition, a director, officer, or employee of such an investment banker.

13. The applicant has read 11 U.S.C. §101(14) and §327, and FRBP 2014(a); and the applicant’s firm
    has no connections with the debtor(s), creditors, any party in interest, their respective attorneys and
    accountants, the United States Trustee, or any person employed in the office of the United States
    Trustee, or any District of Oregon Bankruptcy Judge, except as follows:
N/A




1114 (11/30/09)     Page 1 of 3

                           Case 20-30271-tmb11        Doc 83    Filed 04/08/20
14. The applicant has no interest materially adverse to the interest of the estate or of any class of
    creditors or equity security holders.

15. Describe details of all payments made to you by either the debtor or a third party for any services
    rendered on the debtor's behalf within a year prior to filing of this case:
      3/12/19 debit card payment $1390
      10/2/19 check number 70135 $2458.88




16. The debtor has the following affiliates (as defined by 11 U.S.C. §101(2)). Please list and explain
    the relationship between the debtor and the affiliate:
Jeremy Killian - 80% shareholder; Ryan Donato - 20% shareholder (Shareholders agreed to 50/50 split)
Level 3 Homes & Design, LLC - Oregon limited liability owned by Jeremy Killian (50%) and Ryan Donato
(50%)
Level 3, LLC - Oregon limited liability company owned by Jeremy Killian (100%)



17. The applicant is not an affiliate of the debtor.

18. Assuming any affiliate of the debtor is the debtor for purposes of statements 4-13, the statements
    continue to be true except (list all circumstances under which proposed counsel or counsel's law
    firm has represented any affiliate during the past 18 months; any position other than legal counsel
    which proposed counsel holds in either the affiliate, including corporate officer, director, or
    employee; and any amount owed by the affiliate to proposed counsel or its law firm at the time of
    filing, and amounts paid within 18 months before filing):
N/A




19. The applicant hereby acknowledges that he/she has a duty during the progress of the case to keep
    the court informed of any change in the statement of facts which appear in this verified statement.
    In the event that any such changes occur, the applicant immediately shall file with the court an
    amended verified statement on LBF #1114, with the caption reflecting that it is an amended Rule
    2014 statement and any changes clearly identified.

THE FOLLOWING QUESTIONS NEED BE ANSWERED ONLY IF AFFILIATES HAVE BEEN LISTED
IN STATEMENT 16.

20. List the name of any affiliate which has ever filed bankruptcy, the filing date, and court where filed:
Level 3 Homes & Design, LLC: January 27, 2020, U.S. Bankruptcy Court Dist. Oregon (Case No.
20-30271-tmb11).




1114 (11/30/09)     Page 2 of 3

                           Case 20-30271-tmb11         Doc 83   Filed 04/08/20
21. List the names of any affiliates which have guaranteed debt of the debtor or whose debt the debtor
    has guaranteed. Also include the amount of the guarantee, the date of the guarantee, and whether
    any security interest was given to secure the guarantee. Only name those guarantees now
    outstanding or outstanding within the last 18 months:

N/A




22. List the names of any affiliates which have a debtor-creditor relationship with the debtor. Also
    include the amount and date of the loan, the amount of any repayments on the loan and the
    security, if any. Only name those loans now outstanding or paid off within the last 18 months:
Jeremy Killian - loaned $200,000 to Debtor on or about 12/5/2019. No security.




23. List any security interest in any property granted by the debtor to secure any debts of any affiliate
    not covered in statements 20 and 21. List any security interest in any property granted by the
    affiliate to secure any debts of the debtor not covered in statements 21 and 22. Also include the
    collateral, the date and nature of the security interest, the name of the creditor to whom it was
    granted, and the current balance of the underlying debt:
N/A




24. List the name of any affiliate who is potentially a "responsible party" for unpaid taxes of the debtor
    under 26 U.S.C. §6672:
N/A




I verify that the above statements are true to the extent of my present knowledge and belief.


                                                               ________________________________
                                                                            Applicant

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                               EXHIBIT 1

                        ENGAGEMENT LETTER
                           AND ADDENDA




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Case 20-30271-tmb11   Doc 83   Filed 04/08/20
Case 20-30271-tmb11   Doc 83   Filed 04/08/20
Case 20-30271-tmb11   Doc 83   Filed 04/08/20
                      ADDENDUM A TO ENGAGEMENT AGREEMENT

       This Addendum is made to that Engagement Agreement (the “Contract”), by and
between Debtor-in-Possession, Level 3 Homes & Design, LLC (“Debtor” or “Client”) and
Danett Gardiner and Profound Financial, PLLC (“Agent”), regarding accounting services to be
rendered to the Client. The terms of the Contract remain in full force and effect provided they do
not conflict with the terms below. This Addendum applies to the Contract, and any
modifications, renewals or extensions thereto, for so long as the Bankruptcy Case (defined
below) remains open.

      1.     The Client is Level 3 Homes & Design, LLC, Debtor-in-Possession for the
Bankruptcy Estate of Level 3 Homes & Design, LLC, Case No. 20-30271-tmb11 (the
“Bankruptcy Case”).

        2.      During the pendency of the Bankruptcy Case, the United States Bankruptcy Court
for the District of Oregon shall have sole jurisdiction for any and all dispute resolutions
pertaining or related to the Contract. Paragraph 11 of the Contract and any other references to
mediation, arbitration, venue or choice of law are deleted and ineffective during the pendency of
the Bankruptcy Case.


          03 / 04 / 2020
DATE: _____________________

Profound Financial, PLLC




Name: Dannett Gardiner
Title: Authorized Representative




Page 1 of 1 - ADDENDUM A TO REPRESENTATION AGREEMENT
{00342841:1}


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                                                              Doc ID: 1f0bd040450dc690ae16d8f2219d49a0520703fa
                   ADDENDUM A TO ENGAGEMENT AGREEMENT

       This Addendum is made to that Engagement Agreement (the “Contract”), by and
between Debtor-in-Possession, Heirloom, Inc.(“Debtor” or “Client”) and Danett Gardiner and
Profound Financial, PLLC (“Agent”), regarding accounting services to be rendered to the Client.
The terms of the Contract remain in full force and effect provided they do not conflict with the
terms below. This Addendum applies to the Contract, and any modifications, renewals or
extensions thereto, for so long as the Bankruptcy Case (defined below) remains open.

       1.      The Client is Heirloom, Inc., Debtor-in-Possession for the Bankruptcy Estate of
Heirloom, Inc. , Case No. 20-30272-tmb11 (the “Bankruptcy Case”).

        2.      During the pendency of the Bankruptcy Case, the United States Bankruptcy Court
for the District of Oregon shall have sole jurisdiction for any and all dispute resolutions
pertaining or related to the Contract. Paragraph 11 of the Contract and any other references to
mediation, arbitration, venue or choice of law are deleted and ineffective during the pendency of
the Bankruptcy Case.



      03 / 04 / 2020
DATE: _____________________

Profound Financial, PLLC




Name: Dannett Gardiner
Title: Authorized Representative




Page 1 of 1 - ADDENDUM A TO REPRESENTATION AGREEMENT
{00343065:1}


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                                                             Doc ID: 1f0bd040450dc690ae16d8f2219d49a0520703fa
                          ADDENDUM B TO ENGAGEMENT AGREEMENT

        This Addendum is made to that Engagement Agreement (the “Contract”), by and between
Debtor-in-Possession, Heirloom, Inc.(“Debtor” or “Client”) and Danett Gardiner and Profound
Financial, PLLC (“Accountant”), regarding accounting, bookkeeping and payroll services to be
rendered to the Client. The terms of the Contract remain in full force and effect provided they do not
conflict with the terms below. This Addendum applies to the Contract, and any modifications,
renewals or extensions thereto, for so long as the Bankruptcy Case (defined below) remains open.

       1.          The “Invoicing” Section of the Contract is hereby deleted, and shall be replaced by the
following:

         Client and Accountant agree that the Accountant’s compensation for services
         performed pursuant to this Agreement shall be the Accountant’s customary hourly
         rates in effect at the time the services are performed for the Accountants, assistants
         and staff who provide services for the Client. At the time of the execution of this
         Agreement, the current hourly rates are as follows:

               Name                              Title                      Hourly Rate
               Dannett Gardiner                  Principal/CPA              $185
               Brian George                      CPA                        $185
               Angela Gutierrez                  Accounting Manager         $85
               Sheryl Larena                     Accountant                 $45
               Charo Flores                      Accountant                 $45
               Ging Calumpang                    Clerk                      $45
               Teri Kramer                       Clerk                      $30
               Nikki Garcia                      Clerk                      $30
               Bernardita Olor                   Clerk                      $30

         These hourly rates are subject to periodic adjustment to reflect economic conditions
         and increased experience and expertise. Accountant’s time and paralegal time is billed
         in minimum 0.10 hour increments. Client will be provided with itemized monthly
         statements for services rendered and expenses incurred, which will be mailed on
         approximately the 10th of each calendar month. Client agrees to request the ability to
         make interim payments to Accountant, on a monthly basis.

      2.      Accountant understands and acknowledges that Accountant’s employment and
Accountant’s compensation, is subject to approval by the Bankruptcy Court

 Profound Financial, PLLC

                                                                 4/7/2020
 Name: Dannett Gardiner
 Title: Authorized Representative                             Date




Page 1 of 1 - ADDENDUM B TO REPRESENTATION AGREEMENT
{00343065:2}


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                               EXHIBIT 2

                           PROPOSED ORDER




               Case 20-30271-tmb11   Doc 83   Filed 04/08/20
{00341186:2}
                                IN THE UNITED STATES BANKRUPTCY COURT

                                           FOR THE DISTRICT OF OREGON

                                                        Bankruptcy Case Nos.

         In re:                                         20-30271-tmb11 (Lead Case)

         LEVEL 3 HOMES & DESIGN, LLC,                   20-30272-tmb11

                   and                                  Jointly Administered

         HEIRLOOM, INC.,                                ORDER AUTHORIZING
                                                        EMPLOYMENT OF ACCOUNTANT /
                                Debtors.                BOOKKEEPER, AND ESTABLISHING
                                                        INTERIM COMPENSATION
                                                        PROCEDURES



                  THIS MATTER having come before the Court on the Debtors’ Amended Application for

        Authority to Employ Accountant / Bookkeeper, and Motion to Approve Interim Compensation

        Procedures [ECF No. ___] (the “Application”) filed by Level 3 Homes & Design, LLC and

        Heirloom, Inc., Debtors-in-Possession (“Debtors”), seeking an order authorizing them to employ

        Profound Financial, PLLC (“Professional”), and to approve interim compensation procedures; the




Page 1 of 3       ORDER AUTHORIZING EMPLOYMENT OF ACCOUNTANT /                       MOTSCHENBACHER & BLATTNER LLP
                                                                                       117 SW Taylor Street, Suite 300
                  BOOKKEEPER, AND APPROVING INTERIM COMPENSATION                           Portland, Oregon 97204
{00341186:2}
                  PROCEDURES                                                                Phone: 503-417-0500
                                                                                             Fax: 503-417-0501
                           Case 20-30271-tmb11 Doc 83 Filed 04/08/20                         www.portlaw.com
        Court having reviewed the application and accompanying 2014 statement, and being otherwise duly

        advised; now, therefore,

                IT IS HEREBY ORDERED as follows:

                1)     Debtors’ Application is approved, and Debtors are authorized to employ Profound as

        of the original application date of March 2, 2020, as accountant and bookkeeper;

                2)     Debtors’ motion to approve interim compensation procedures for Profound is

        GRANTED;

                3)     With the Debtors’ Rule 2015 Monthly Operating Reports, the Debtors shall include a

        report of Profound’s hourly fees and expenses for the previous month.

                4)     Unless a party in interest objects to payment of Profound’s fees and expenses within

        14 days from the date the Monthly Operating Report is filed, Debtors shall be authorized to pay

        Profound’s fees and expense reimbursements.

                5)     Upon receiving an objection from a party in interest, Debtors shall request a hearing to

        have the matter decided by the Court.

                6)     Neither the failure to object nor the payment or nonpayment of any portion of the

        requested monthly interim compensation and expenses shall bind any creditor, party in interest, or the

        Court with respect to the final allowance of applications for compensation and reimbursement of

        expenses.

        /////

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Page 2 of 3     ORDER AUTHORIZING EMPLOYMENT OF ACCOUNTANT /                            MOTSCHENBACHER & BLATTNER LLP
                                                                                          117 SW Taylor Street, Suite 300
                BOOKKEEPER, AND APPROVING INTERIM COMPENSATION                                Portland, Oregon 97204
{00341186:2}
                PROCEDURES                                                                     Phone: 503-417-0500
                                                                                                Fax: 503-417-0501
                         Case 20-30271-tmb11 Doc 83 Filed 04/08/20                              www.portlaw.com
               7)      All fees and expenses paid to Profound under the interim compensation procedures are

        subject to disgorgement until final allowance by the Court.

                                                        ###




        Order Presented by:

        MOTSCHENBACHER & BLATTNER LLP

        /s/ Nicholas J. Henderson
        Nicholas J. Henderson, OSB #074027
        Telephone: 503-417-0508
        E-mail: nhenderson@portlaw.com
        Of Attorneys for Debtors

        PARTIES TO SERVE:

         Via CM/ECF:                                        Via First-Class Mail:

         All participants.                                  None.




Page 3 of 3    ORDER AUTHORIZING EMPLOYMENT OF ACCOUNTANT /                          MOTSCHENBACHER & BLATTNER LLP
                                                                                       117 SW Taylor Street, Suite 300
               BOOKKEEPER, AND APPROVING INTERIM COMPENSATION                              Portland, Oregon 97204
{00341186:2}
               PROCEDURES                                                                   Phone: 503-417-0500
                                                                                             Fax: 503-417-0501
                        Case 20-30271-tmb11 Doc 83 Filed 04/08/20                            www.portlaw.com
                                            CERTIFICATE OF SERVICE

                   I hereby certify that on April 7, 2020, I served DEBTORS’ AMENDED APPLICATION

        FOR AUTHORITY TO EMPLOY ACCOUNTANT / BOOKKEEPER, AND MOTION TO

        APPROVE INTERIM COMPENSATION PROCEDURES on the following participants through

        the Court’s CM/ECF electronic notification processes:

                  MATTHEW A ARBAUGH matt@arbaugh-law.com
                  CONDE T COX conde@lawofficeofcondecox.com, trish@lawofficeofcondecox.com
                  NICHOLAS J HENDERSON nhenderson@portlaw.com,
                   tsexton@portlaw.com;mperry@portlaw.com;hendersonnr86571@notify.bestcase.com
                  HOWARD M LEVINE hlevine@sussmanshank.com,
                   jhume@sussmanshank.com,ecf.howard.levine@sussmanshank.com,howard-levine-
                   5487@ecf.pacerpro.com
                  CHARLES R MARKLEY cmarkley@williamskastner.com, ncartier@williamskastner.com
                  MICHAEL H McGEAN mike@francishansen.com, brittany@francishansen.com
                  RICHARD J PARKER rjp@pbl.net, wlt@pbl.net
                  US Trustee, Portland USTPRegion18.PL.ECF@usdoj.gov


        I further certify that the foregoing document was served by first-class mail to the address below:

                   ODR Bkcy
                   955 Center St NE
                   Salem, OR 97301-2555

        DATED: April 8, 2020                         MOTSCHENBACHER & BLATTNER LLP

                                                     By:/s/Nicholas J. Henderson
                                                     Nicholas J. Henderson, OSB #074027
                                                     Of Attorneys for Debtor




Page 1 of 1        CERTIFICATE OF SERVICE                                               MOTSCHENBACHER & BLATTNER LLP
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                                                                                              Portland, Oregon 97204
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                                                                                                Fax: 503-417-0501
                              Case 20-30271-tmb11         Doc 83     Filed 04/08/20             www.portlaw.com
